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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY


  REDI-DATA, INC.,

                        Plaintiff,               Case No. 2:20-CV-17484-JMV

            -against-

  THE SPAMHAUS PROJECT a/k/a THE
  SPAMHAUS PROJECT LTD.,

                        Defendant.


                DECLARATION OF STEPHEN JOHN LINFORD

        I, STEPHEN JOHN LINFORD, British citizen resident of Andorra, declare
 the following to be true under penalty of perjury:

       1.     I am the founder and CEO of the Defendant The Spamhaus Project

       SLU ("The Spamhaus Project"). As such, I am personally familiar with the

       operations of The Spamhaus Project and with the facts recounted herein.

       2.     I submit this Declaration in support of The Spamhaus Project's motion

       to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(2) for lack of

       personal jurisdiction.

       3.     The Spamhaus Project was founded in London in 1998.           It was

       originally incorporated and headquartered in the United Kingdom as a

       British not-for-profit limited liability company -- The Spamhaus Project

       LTD.
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       4.    In 2019, The Spamhaus Project relocated its headquarters and

       operations from the United Kingdom to the Principality of Andorra and

       became a not-for-profit Andorran limited liability company -- The Spamhaus

       Project S.L.U.   The Spamhaus Project is now based in Andorra, with its

       headquarters and registered Office in Andorra La Vella, Andorra.

       5.    The Spamhaus Project is a nonprofit organization that tracks spam

       emails and related cyber threats such as phishing, malware and botnets, and

       that provides real time, actionable and highly accurate threat intelligence to

       Internet networks, ISPs and other Internet users worldwide.

       6.    The Spamhaus Project is run by a dedicated staff of 38 investigators,

       forensics specialists and network engineers.

       7.      Among other things, The Spamhaus Project maintains a number of

       DNS-based Blocklists ("DNSBLs"). 1 A DNSBL (commonly known as a

       "Blocklist") is a database that a provider (such as The Spamhaus Project)

       creates that lists IP addresses that have been associated with email spam

       activity. The Spamhaus Project's DNSBLs are maintained on The Spamhaus


       "DNS" refers to the "Domain Name System," which is the Internet's system
 for converting alphabetic names into numeric IP addresses. For example, when a
 Web address (URL) is typed into a browser, DNS servers return the IP address of
 the Web server associated with that name. In this fictional example, the DNS
 converts the URL www.company.com into the IP address 204.0.8.51. Without
 DNS, one would have to type the series of four numbers and dots into one's
 browser to retrieve the website.

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       Project's servers.   Those servers can be searched in real time by Internet

       mail servers for the purpose of obtaining an opinion on the origin of

       incoming email received by those Internet mail servers.

       8.    The role of The Spamhaus Project's DNSBLs is to make available to

       Spamhaus Users The Spamhaus Project's opinion on whether a particular IP

       Address meets The Spamhaus Project's own policy for acceptance of

       inbound email. The Spamhaus Project's DNSBL servers respond to many

       billions of DNSBL queries from the public every day, and The Spamhaus

       Project does not charge for access to its DNSBLs.

       9.      The Spamhaus Project uses the industry standard definition of

       "spam," which defines spam to mean "unsolicited bulk email" ("UBE").

       "Unsolicited" means that the Recipient has not granted verifiable permission

       for the message to be sent. "Bulk" means that the message is sent as part of

       a larger collection of messages, all having substantively identical content.

       An email message is "spam" only if it is both unsolicited and bulk.     The

       Spamhaus Project's identification of spam is focused on consent rather than

       the content of the message. Whether the Unsolicited Bulk Email ("UBE")

       message is an advertisement, a scam, pornography, or an offer of a free

       lunch is irrelevant to the question of whether it constitutes spam.   If the

       message is sent unsolicited and in bulk then the message is spam. Whether

       the sending of spam is legal or illegal in any particular jurisdiction is
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       irrelevant.    Thus, arguments or assertions as to whether Unsolicited Bulk

       Email messages are compliant with the requirements set forth in the U.S.

       "CAN-SPAM Act" (15 U.S.C. § 7701, et. seq.) or other statutes is irrelevant

       to The Spamhaus Project's identification of spam. The Spamhaus Project

       does not evaluate the content or legality of the contents of an email message.

       It merely evaluates whether that message constitutes spam by the industry

       standard definition.

       10.       Among the DNSBLs maintained by The Spamhaus Project is The

       Spamhaus Block List ("SBL") Advisory, which is a database of IP addresses

       from which Spamhaus does not recommend the acceptance of electronic

       mail. The SBL is searchable in real time by mail systems throughout the

       Internet, allowing mail server administrators to identify, tag or block

       incoming connections from IP addresses which The Spamhaus Project

       deems to be involved in the sending, hosting or origination of spam.

       11.       The SBL database is maintained by a dedicated team of investigators

       and forensics specialists working 24 hours a day to list new confirmed spam

       issues.     IP addresses are listed on the SBL because they appear to The

       Spamhaus Project to be under the control of, used by, or made available for

       use by spammers and abusers in unsolicited bulk email or other types of

       Internet-based abuse that threatens networks or users.



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       12.   SBL listings are based on evidence which has satisfied the SBL team

       that the IP address or IP address range meets its listing criteria.    But the

       listings are advisory: they represent The Spamhaus Project's opinion about

       activity involving that IP address or IP range. Types of abuse that can lead to

       SBL listings include all aspects of unsolicited bulk email (spam) and other

       types of security threats.

       13.   Another DNSBL maintained by the Spamhaus Project is The Domain

       Block List ("DBL").          The DBL is a list of domain names with poor

       reputations. It includes domains which are used in sending unsolicited bulk

       email or in sending or hosting malware or viruses, as well as other domains

       with poor reputation due to many heuristics. The DBL is maintained by a

       dedicated team of specialists using various data from many sources to craft

       and maintain a large set of rules controlling an automated system that

       constantly analyses a large portion of the world's email flow and the

       domains in it. Most DBL listings occur automatically.

       14.   The DBL is published in a domain DNSBL format on The Spamhaus

       Project's servers, and it is searchable in real-time, just like The Spamhaus

       Project's other DNSBLs.        Those running mail server software capable of

       scanning email headers and message bodies for URis can use the DBL to

       identify, classify, or reject mail containing DBL-listed domains.



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       15.   The Spamhaus Project provides procedures for requesting delisting or

       removal from its DNSBLs. If the issues that caused the listing are resolved

       and are sufficiently corrected to prevent further abuse, the Spamhaus Project

       will remove the relevant IP address or domain from the DNSBL.

       16.   The Spamhaus Project does not itself block any email traffic or

       prevent anyone from sending emails on the Internet. It is the policies of the

       particular entity receiving inbound email (the "Receiver") that governs

       whether particular messages are blocked, delivered, sent to a spam folder, or

       subjected to additional screening.       Every Internet network that chooses to

       consult a DNSBL (such as those made available by The Spamhaus Project)

       as part of its spam filtering process is, by doing so, making its own policy

       decision governing acceptance and handling of inbound email.               The

       Receiver unilaterally makes the choices on whether to search DNSBLs,

       which DNSBLs to use, and what to do with an incoming email if the email

       message's originating IP Address is "listed" on the DNSBL.

       17.   The Spamhaus Project is not engaged in continuous activities

       purposefully directed to New Jersey.

       18.   The Spamhaus Project does not do business in New Jersey, and The

       Spamhaus Project conducts no marketing in New Jersey.




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       19.   The Spamhaus Project is incorporated in the Principality of Andorra

      and has its principal place of business there. It has no office or employees in

      New Jersey, and it conducts no business there.

      20.    The Spamhaus Project has not engaged in any activity in New Jersey,

      and it is not at home there.

      21.    The Spamhaus Project had no relationship with Plaintiff Redi-Data,

      Inc. ("Redi-Data") and did not know where Redi-Data was incorporated or

      where its physical headquarters or operations were located.

      22.    The Spamhaus Project did not know that any alleged harm suffered by

      Redi-Data would be felt in New Jersey.

      23.    The Spamhaus Project's actions in connection with placing Redi-Data's

      IPs and domain names on the SBL and the DBL were not actions that The

      Spamhaus Project aimed or targeted at New Jersey. The SBL and the DBL

      are not targeted at New Jersey. They are placed on The Spamhaus Project's

      servers and are available to be searched by anyone in the world with a

      connection to the Internet.

      24.    This declaration is signed in a manner that, if falsely made, could

      subject me to a criminal penalty in the country where the Declaration is

      signed.

      I declare under penalty of perjury under the laws of the United States and of

the Principality of Andorra that the forgoing is true and correct.

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 Dated: Andorra La Vella, Andorra
        December 22, 2021




                                    STEPHEN JOHN LINFORD




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